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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,

               Plaintiff,
                                                            MEMORANDUM OPINION
       v.                                                   AND ORDER
                                                            Criminal No. 09-198 ADM/SER
Erik Nikkolas Adams-Reading,

            Defendant.
______________________________________________________________________________

Angela M. Munoz, Assistant United States Attorney, United States Attorney’s Office,
Minneapolis, Minnesota, on behalf of Plaintiff.

Michael C. Hager, Esq., Hager Law Office, Minneapolis, MN, on behalf of Defendant.
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                                     I. INTRODUCTION

       This matter is before the undersigned United States District Judge for a ruling on

Defendant Erik Nikkolas Adams-Reading’s (“Adams-Reading”) Motion for Reduction of

Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) [Docket No. 135] (“Motion”). For the reasons

set forth below, the Motion is denied.

                                         II. BACKGROUND

       On January 14, 2011, Adams-Reading entered a plea of guilty to receiving child

pornography. See Min. Entry [Docket No. 25]; Plea Agreement [Docket No. 27]. During the

course of the investigation of Adams-Reading’s case, the Federal Bureau of Investigation

recovered from her possession approximately 547 images and 109 video files of child

pornography. Presentence Investigation Report (“PSR”) ¶ 29. One of the video files of child

pornography was recorded by Adams-Reading. Id. The images and video clips showed

prepubescent boys being anally penetrated by adult males and prepubescent boys performing
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oral sex on adult males, including an image in which a boy’s hands and feet are bound together

behind his back with a rope. Id. ¶¶ 7–8, 24. One child victim who was related to Adams-

Reading was 16 years old when Adams-Reading made the video of him. Id. ¶ 10. Adams-

Reading also knew two other child victims, ages 3 and 8 years old, who appeared in the images.

Id. ¶ 9.

           Adams-Reading was sentenced to a prison term of 90 months and a supervised release

term of 15 years. Sentencing J. [Docket No. 36] at 2–3. She was released from prison in

December 2016.

           Adams-Reading’s supervised release has been one of continual non-compliance. The

Court first revoked Adams-Reading’s supervised release in May 2018 after she was

unsuccessfully discharged from sex offender treatment due to her lack of participation, failure to

complete assignments, identification with children, denial of the offense, and rude and

disrespectful behavior during the treatment process. First Violation Report [Docket No. 64] at

2–3. As a consequence for the first violation, Adams-Reading was sentenced to a 3 month

prison term and 15 years’ supervised release. Second Sentencing J. [Docket No. 78] at 2.

           In November 2018, the Court again revoked Adams-Reading’s supervised release after

she was unsuccessfully discharged from sex offender treatment due to minimal participation,

unwillingness to take responsibility for the offense of conviction, and failure to comply with the

polygraph examination requirement. Am. Second Violation Report [Docket No. 90] at 2–3. The

Court sentenced Adams-Reading to a prison term of 9 months and a 15-year term of supervised

release. Third Sentencing J. [Docket No. 96] at 1–2. Adams-Reading appealed the second

revocation and sentence, and the Eighth Circuit affirmed. See United States v. Adams-Reading,


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787 F. App’x 355 (8th Cir. 2019).

       In January 2020, the Court revoked Adams-Reading’s supervised release yet a third time

after she was terminated from a Residential Reentry Center (“RRC”) for several rule violations,

including being in another resident’s room without approval, using racist language towards staff,

and destroying property at the RRC. Third Violation Report [Docket No. 116] at 2–3; Third

Sentencing J. [Docket No. 125] at 1. Adams-Reading’s cellular telephone history during this

release period showed she had been exchanging text messages with another convicted sex

offender. Third Violation Report at 4. Explaining that successive violations required escalating

consequences, the Court sentenced Adams-Reading to a prison term of 18 months. Sentencing

Tr. [Docket No. 129] at 12; Third Sentencing J. at 2. Adams-Reading appealed the sentence, and

the appeal remains pending with the Eighth Circuit Court of Appeals. Notice Appeal [Docket

No. 126].

       Adams-Reading is incarcerated at Seagoville federal correctional institution in

Seagoville, Texas (“FCI–Seagoville”). See Federal Bureau of Prisons Inmate Locator,

https://www.bop.gov/inmateloc/ (last visited Oct. 20, 2020).1 Her projected release date is April

16, 2021. Id.

       Adams-Reading now moves for a compassionate release pursuant to

18 U.S.C. § 3582(c)(1)(A). Adams-Reading, age 36, argues she suffers from obesity, asthma,

and cardiomegaly, and that these medical conditions place her at a heightened risk of severe


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          The parties state that Adams-Reading is incarcerated at the Federal Transfer Center in
Oklahoma City, Oklahoma (“FTC–Oklahoma City”). See Def. Mot. Reduce Sentence at 1;
Gov’t Resp. Opp’n [Docket No. 142] at 9. The BOP website shows she is now at
FCI–Seagoville. See Federal Bureau of Prisons Inmate Locator, https://www.bop.gov/inmateloc/
(last visited Oct. 20, 2020)

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illness or death from COVID-19. Adams-Reading anticipates that if released, she would be

required to reside in a supervised group residence. She requests placement in Minnesota where

she would have access to her family and to psychiatric services.

       The Government opposes the Motion, arguing the Court lacks jurisdiction to modify

Adams-Reading’s sentence because the appeal of her 18-month sentence remains pending. The

Government also argues that Adams-Reading has not satisfied the exhaustion requirement for

bringing a compassionate release motion. The Government further argues that Adams-Reading

would pose a danger to the community if released and that reducing her sentence would not be

consistent with the sentencing factors in 18 U.S.C. § 3553(a).

                                        III. DISCUSSION

A. Legal Standard

       Generally, a “court may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c). One of the few exceptions to this general rule is the compassionate release

provision of 18 U.S.C. § 3582(c)(1)(A). Under this provision, a court may reduce a term of

imprisonment if, “after considering the factors set forth in section 3553(a),” the court finds that

“extraordinary and compelling reasons” warrant a sentence reduction, “and that such a reduction

is consistent with applicable policy statements issued by the Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A).

       The Sentencing Commission’s applicable policy statement defines “extraordinary and

compelling” reasons to include serious medical conditions or cognitive impairments “that

substantially diminish[] the ability of the defendant to provide self-care within the environment

of a correctional facility and from which he or she is not expected to recover.”


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U.S.S.G. § 1B1.13 comment n.1(A)(ii). The policy statement also requires the court to

determine that “[t]he defendant is not a danger to the safety of any other person or to the

community” before a sentence reduction may be granted under § 3582(c)(1)(A). See

U.S.S.G. § 1B1.13(2).

       A defendant may not bring a motion for compassionate release until after the defendant

has “fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring

a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

B. Analysis

       1. Jurisdiction

       Adams-Reading’s pending appeal of her sentence deprives this Court of jurisdiction over

her motion for a sentence reduction. “The filing of a notice of appeal . . . confers jurisdiction on

the court of appeals and divests the district court of its control over those aspects of the case

involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982). This

prevents situations where “district courts and courts of appeals would both have . . . the power to

modify the same judgment.” Id. at 59–60.

       Nevertheless, Federal Rule of Criminal Procedure 37(a) provides in part that “[i]f a

timely motion is made for relief that the court lacks authority to grant because of an appeal that

has been docketed and is pending, the court may . . . deny the motion.” This rule “was expressly

contemplated for ‘motions under 18 U.S.C. § 3582(c).’” United States v. Traylor, No. 16-20437,

2020 WL 5405866, at *2 (E.D. Mich. Sept. 9, 2020) (quoting Fed. R. Civ. P. 37(a) advisory

committee’s note). Thus, Rule 37(a) “allows district courts to deny, but not to grant, a motion


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for which it lacks jurisdiction due to a pending appeal.” United States v. Martin, No. 18-834-7,

2020 WL 1819961, at *2 (S.D.N.Y. Apr. 10, 2020).

       2. Exhaustion

       The parties dispute whether Adams-Reading has satisfied the exhaustion requirement of

18 U.S.C. § 3582(c)(1)(A) by requesting release from the warden of her facility. Adams-

Reading argues the requirement has been met because she made a request for compassionate

release more than 30 days ago to the county jailer where she was initially detained. However,

Adams-Reading has not provided evidence of this request. Adams-Reading also argues an

exception to the exhaustion requirement applies because the county jailer is presumably not

authorized to decide on the release of a federal prisoner, and thus is not capable of providing her

with administrative relief. This argument ignores that Adams-Reading has been in federal

custody since early August 2020 and has not submitted evidence that she requested

compassionate release from the warden of her facility. On the record before it, the Court

concludes Adams-Reading has not satisfied § 3582(c)(1)(A)’s exhaustion requirement.

       3. Merits

       Even if she could meet the exhaustion requirement, Adams-Reading’s Motion would still

be denied because the Court cannot conclude that Adams-Reading “is not a danger to the safety

of any other person or to the community.” See U.S.S.G. § 1B1.13(2). The underlying offense

involved the receipt of a significant number of computer files depicting the sexual abuse of

children. Adams-Reading’s pornography collection included files depicting three minor victims

known to her. The disturbing nature of Adams-Reading’s offense conduct is compounded by her

unwillingness to comply with and participate in sex offender treatment. During each of her three


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periods of supervised release, she has failed to make progress in sex offender treatment and has

twice been unsuccessfully discharged. She has also been communicating with another convicted

sex offender. As the Court noted when sentencing Adams-Reading in January 2020, “I find you

have manipulated the process, and given some of the behaviors and contacts here, I think you’re

still a danger to the community.” Sentencing Tr. at 12.

       The sentencing factors in § 3553(a) also weigh against reducing Adams-Reading’s

sentence. These factors include “the nature and circumstances of the offense” and “the need for

the sentence imposed to reflect the seriousness of the offense, to promote respect for the law . . .

to provide just punishment for the offense . . . to afford adequate deterrence to criminal conduct,”

and “to protect the public from further crimes of the defendant.” 18 U.S.C. § 3553(a).

       With regard to the nature and circumstances of the offense, Adams-Reading has

repeatedly failed to comply with the terms of her supervised release. These terms include

participating in sex offender treatment aimed at addressing the behavior that led to the

underlying offense. As to the need for the sentence to reflect the seriousness of the offense,

provide respect for the law, and afford adequate deterrence, a sentence that escalates the

consequences for Adams-Reading’s disregard of her release terms is necessary to impress upon

her the seriousness of her ongoing violations, to instill respect for the release conditions, and to

adequately deter her from future violations. If Adams-Reading were released after serving only

9 months of her 18-month sentence, the deterrent impact of the Court’s increasing consequences

would be undermined.

       The Court realizes that Adams-Reading’s obesity is a condition that has been recognized

by the Centers for Disease Control and Prevention (“CDC”) as elevating the risk for severe


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illness and complications from COVID-19, and that her asthma is a condition that the CDC has

recognized as possibly increasing the risk of COVID-19 complications. See CDC, People with

Certain Medical Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-condit

ions.html (last accessed Oct. 20, 2020). Additionally, social distancing and other measures for

mitigating the risks of contracting COVID-19 are not always possible in a prison environment.

Nevertheless, even if these circumstances were to qualify as extraordinary and compelling

reasons warranting a sentencing reduction, Adams-Reading’s Motion must be denied based on

the Court’s conclusions that she poses a danger to the community and that reducing her sentence

would be inconsistent with the § 3553(a) sentencing factors. See, e.g., United States v. Sims,

No. CR18-0262, 2020 WL 2838611, at *5 (W.D. Wash. June 1, 2020) (concluding that even if a

prisoner had shown he was eligible for compassionate release due to his compromised medical

condition, the court is not required to release him if the prisoner poses a danger to the

community); United States v. Sears, No. 19-CR-21, 2020 WL 3250717, at *3 (D.D.C. June 16,

2020) (holding that “despite the fact that COVID-19 and [defendant’s] medical condition are

extraordinary and compelling reasons to grant his motion for compassionate release, section

3553(a)’s purposes of punishment require maintenance of the original prison term”) (internal

quotations omitted).




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                                    IV. CONCLUSION

      Based upon the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant Erik Nikkolas Adams-Reading’s Motion for Reduction of

Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) [Docket No. 135] is DENIED.

                                                   BY THE COURT:



                                                       s/Ann D. Montgomery
                                                   ANN D. MONTGOMERY
                                                   U.S. DISTRICT COURT

Dated: October 20, 2020




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